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TROLLED SUBSTANCE

 

12. AT'TORNEY'S NAME (l-`irst Nomt', M.|,, l¢ast Nome, including ari_\' sutl'ix) 13. COURT ()RDER CLER`| U.S¢ D H
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369 N Ma§n ij P Subs For Pi\iielAtlorne_v [] ‘i' Stondb_i'Counsel

Memphis TN 38103

(901) 527-5000

Tt\lephune l\`umlit~r:

Prior Attorne)"s Nume:

g Bec\use the above-named person represented his testified under oath or has
otherwise satisfied this court thlt he or she (l) is linani:ialiy unuhleio employ counsel md
tZ) does not wish to n‘ll\‘e cuulisel, and because the interests of}`ilstice m require. lhe

 

Appointmenl Date:

 

 

     
    
     

 

 

    
  

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15. a. Arraignment and/or Plea

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h. Other (Specify on additional sheets)

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Th|s document entered on the docket sheet In compliance

with Fluie 55 and/or 32(b) FFiCrP on 325‘05

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UNITED sTATE DRISTIC COUR - WTERN D'S'TRCT OFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

